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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW MEXICO


AMBER KUCZKOWSKI,

              Plaintiff,

v.                                                      No. 2:18-cv-01192 WJ/CG


HOBBY LOBBY STORES, INC., dba
HOBBY LOBBY STORE 0302, and
JERRY “LEE” PATTERSON, individually,

              Defendants.

            FIRST AMENDED COMPLAINT FOR DAMAGES AND NOTICE
                              OF APPEAL


       Amber Kuczkowski, by and through her attorneys Valdez and White Law

Firm, LLC (Timothy L. White), for her claims against the Defendants, states:

1.     This is an action for damages arising from Amber Kuczkowski’s termination

by Defendants due to her sex, in violation of the New Mexico Human Rights Act,

NMSA 28-1-7 et seq. (the NMHRA), in violation of Title VII, 42 U.S.C. § 2000e et

seq., and the Pregnancy Discrimination Act and in violation of the Family Medical

Leave Act, 29 U.S.C. § 2601 et seq.

2.     Jurisdiction and venue are proper in this court as all acts complained of

occurred in New Mexico and Defendants are “persons” as defined by the NMHRA.

3.     Defendant Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302 was

at all relevant times an employer as defined in the NMHRA, having at least four

employees and under Title VII having at least fifteen employees.

4.     Defendant Patterson is a resident of Curry County and a citizen of New

Mexico.

5.     Plaintiff has satisfied all applicable administrative requirements before filing

this lawsuit. Plaintiff received her New Mexico Human Rights Order of Non-
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determination on September 21, 2018.

6.       Amber was terminated on October 16, 2017, because of her sex; female, and

for taking her legally protected FMLA leave to give birth to her child.

7.       Amber was hired into Defendant’s location 0302 in Clovis, New Mexico in or

around 2011.

8.       Amber went out on approved, unpaid FMLA maternity leave in August 2017

due to the impending birth of her daughter.

9.       Plaintiff met with Defendant Patterson on or around October 12, 2017, to

speak with him about her returning to work at the end of her approved maternity

leave.

10.      Defendant Patterson informed Amber that he was unsure if he was going to

“re-hire” her, although Amber had never been told by anyone that she had been

terminated.

11.      Defendant Patterson went on to tell Plaintiff that before she went on approved

FMLA maternity leave that she was, “not working as hard as she should have been,”

despite the obvious fact that Plaintiff was thirty-seven (37) weeks pregnant at the

time.

12.      Defendant Patterson followed the previous comment by saying, “Now that you

have two children, you’ll probably be calling in more because of this.” He added that

this is, “because now there is a better chance of your children getting sick.”

13.      Defendant Patterson then informed Plaintiff that he, “needed the weekend to

think about it,” and that he would let her know on Monday, October 16, 2017 if

Plaintiff could return to work or not.

14.      Plaintiff contacted Defendant Patterson on October 16, 2017 at 3:13 p.m. but

was told by Defendant Patterson that he, “No longer needed [her] as an employee.”

15.      When Plaintiff asked Defendant Patterson for a notice of termination and a
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reason why, he stated that he, “did not have a written notice because it’s on the

computer.”

16.     Plaintiff once again asked the reason she was terminated and Defendant

Patterson said, “Because [you] voluntarily terminated and were unable to do [her]

job.”

17.      Defendant Patterson went on to say that in actuality he had terminated

Plaintiff six weeks prior to this conversation, although Plaintiff never received any

notice of this action, nor did Defendant Patterson admit to this when he said he,

“needed the weekend to think about it.”


  COUNT I - DISCRIMINATION ON THE BASIS OF SEX IN VIOLATION OF
               THE NEW MEXICO HUMAN RIGHTS ACT

18.      Plaintiff incorporates by reference the factual allegations of each of the

preceding paragraphs.

19.      Plaintiff is female.

20.      Plaintiff was qualified for the position she was performing before going on her

maternity/FMLA leave.

21.      Defendants discriminated against Plaintiff on the basis of her sex; female, by

refusing to allow her to return to work after coming back from approved FMLA

maternity leave and by terminating her from her employment while on approved

FMLA maternity leave in violation of NMSA 28-20-1 et seq.

22.      Plaintiff has suffered an adverse employment action, termination, due to this

discrimination.

23.      Plaintiff has been damaged as a result of this discrimination

described above in the form of back and front pay, in the form of all compensatory

damages allowed by law, attorneys fees, costs and expenses incurred in this action
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and for prejudgment and post-judgment interest as allowed by law, and for such

other relief as the court considers proper.



COUNT II - DISCRIMINATION ON THE BASIS OF SEX IN VIOLATION OF
                           TITLE VII


24.     Plaintiff realleges and incorporates herein by reference the allegations

contained in each paragraph above.

25.     Plaintiff is female and as such is a member of a protected class as

defined by Title VII.

26. Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302 is an employer which

employs 15 or more employees and is subject to Title VII, including the Pregnancy

Discrimination Act of 1978, 42

U.S.C. §2000e(k).

27. Defendant Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302 has

engaged in unlawful employment practices in violation of Title VII, in that

Plaintiff’s pregnancy was a motivating factor in defendants’ decision to terminate

Plaintiff’s employment and upon information and belief, Hobby Lobby Stores, Inc.,

dba Hobby Lobby Store 0302 treated her differently than other employees who

have requested time off from work. Hobby Lobby Stores, Inc., dba Hobby Lobby

Store 0302 discriminated against Plaintiff on the basis of her gender in connection

with its decision to terminate her employment.

28.     As a direct and proximate result of the actions and inactions of defendants,

Plaintiff has suffered and will continue to suffer compensatory damages in an

amount to be proved at trial, which include but are not limited to: a) past and future

lost wages and employment benefits; and b) emotional

distress related to the termination of her employment, and the stigma of having

to report to future employers that she was terminated by Hobby Lobby Stores,
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Inc., dba Hobby Lobby Store 0302.

29.     Plaintiff is also entitled to an award of punitive damages and reasonable

attorney’s fees and costs in connection with her claim of pregnancy/gender

discrimination under Title VII and the Pregnancy Discrimination Act, as a result of

defendants’ reckless and wanton disregard for her rights under the law.



          COUNT III. Interference and Retaliation under FMLA



30.     Plaintiff realleges and incorporates herein by reference the allegations

contained in each paragraph above.

31.     Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302 is an employer

covered under the FMLA and is subject to its provisions. 29 U.S.C.A. §

2611(4)(A)(i).

32.     The FMLA prohibits an employer from interfering with an employee’s

attempt to exercise FMLA rights or discriminating against the employee for

exercising her rights under the Act. 29 U.S.C.A. § 2615 (a)(1)-(2). Hobby Lobby

Stores, Inc., dba Hobby Lobby Store 0302, through defendant Patterson failed to

act reasonably when Plaintiff notified him of her readiness to return to work.

33.     Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302, by and

through its employees and agents and representatives, interfered with and

discriminated against Plaintiff in

connection with its failure to return her to work after her maternity/FMLA leave.

34.     The decision by Hobby Lobby Stores, Inc., dba Hobby Lobby Store 0302,

through its employees and agents, including Patterson, to terminate Plaintiff’s

employment was made in retaliation for Plaintiff’s request to take FMLA leave and

was in violation of the FMLA.

35.     As a direct and proximate result of the actions and inactions of
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Defendants Plaintiff has suffered and will continue to suffer all available

compensatory damages in an amount to be proved at trial.

36.     The actions and/or omissions of Hobby Lobby Stores, Inc., dba Hobby

Lobby Store 0302 were malicious, willful, reckless, wanton, fraudulent or in bad

faith, entitling Plaintiff to an award of liquidated damages in the sum of double

Plaintiff’s lost wages and interest.

37.     Plaintiff is also entitled to reasonable attorney’s fees and costs

pursuant to the FMLA.

                                 REQUESTED RELIEF

        For the reasons set forth in this complaint, Plaintiff respectfully requests

that the Court enter judgment as follows:

        1.     Against defendants for all lawfully recoverable compensatory and

punitive damages allowed by law, in an amount to be determined by the jury;

        2.     Against defendant for costs, expenses and attorneys’ fees; for

prejudgment and post-judgment interest as allowed by law, and for such other relief

as the court considers proper.
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                               Respectfully submitted,

                               Valdez and White Law Firm, LLC

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